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     8
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     9 Marine and General Insurance Company
   10                             UNITED STATES DISTRICT COURT
   11           CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION
   12
   13 Travelers Commercial Insurance                        Case No. 2:21-cv-5832-GW (PDx)
      Company, a Connecticut Corporation,
   14                                                       DECLARATION OF JAMES P.
                   Plaintiff,                               WAGONER IN SUPPORT OF NEW
   15                                                       YORK MARINE AND GENERAL
            v.                                              INSURANCE COMPANY’S
   16                                                       MOTION TO DISQUALIFY
      New York Marine and General                           MAYNARD COOPER & GALE,
   17 Insurance Company, a Delaware                         LLP
      Corporation,
   18                                                       Date:               May 11, 2023
                   Defendant.                               Time:               8:30 a.m.
   19                                                       Judge:              Hon. George H. Wu
                                                            Courtroom:          9D
   20
      New York Marine and General
   21 Insurance Company, a Delaware
      corporation
   22
                  Counter-Claimant
   23
            v.
   24
      Travelers Commercial Insurance
   25 Company, a Connecticut corporation,
   26 Counter-Defendant
   27
   28

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     1        I, James P. Wagoner, declare as follows:
     2        1.      I am an attorney licensed to practice in the State of California, and am
     3 admitted to practice in the United States District Court for the Central District of
     4 California. I am a member of the firm of McCormick, Barstow, Sheppard, Wayte &
     5 Carruth, LLP, and in that capacity, represent Defendant and Counterclaimant New
     6 York Marine and General Insurance Company (“NY Marine”) in this action. The
     7 following facts are based upon my personal knowledge, and if called as a witness I
     8 could and would testify competently to these facts under oath.
     9        2.      This Declaration is submitted in support of NY Marine’s motion to
   10 disqualify Travelers Commercial Insurance Company’s (“Travelers”) counsel of
   11 record, Maynard Cooper & Gale, LLP (“Maynard Cooper”).
   12         3.      Matthew A. Chipman (referred to as “the Associate” in NY Marine’s
   13 Memorandum of Points & Authorities) was hired by McCormick, Barstow, Sheppard,
   14 Wayte & Carruth, LLP (“McCormick Barstow”) as a “Summer Associate” and
   15 worked at the firm in that capacity between May 28, 2019 and August 1, 2019 during
   16 the Summer between his second and third years of law school. At the end of his term
   17 as a Summer Associate, he received, and subsequently accepted, an offer of an
   18 employment with McCormick Barstow in its Insurance Coverage and Bad Faith
   19 Litigation Practice Group. Mr. Chipman graduated from law school in the Spring of
   20 2020 and commenced his employment with McCormick Barstow on October 13,
   21 2020.
   22         4.      McCormick Barstow and the undersigned have represented NY Marine
   23 in numerous matters since at least 2015, and prior to Mr. Chipman’s employment at
   24 McCormick Barstow, the firm, through the undersigned and Messrs. Rasmussen,
   25 Knutson, Van Leuven, and others, routinely represented NY Marine in various
   26 matters.
   27         5.      On October 13, 2020, McCormick Barstow was retained by NY Marine
   28 to serve as coverage counsel in connection with the defense it was providing to NY

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     1 Marine’s and Travelers’ mutual insured, Amber Heard, subject to a reservation of
     2 rights, in underlying litigation in Virginia. Since McCormick Barstow’s initial receipt
     3 of this file from NY Marine, it has been handled by the undersigned and Mr.
     4 Rasmussen, with the subsequent involvement of Messrs. Knutson and Van Leuven.
     5        6.       From the outset, McCormick Barstow’s involvement in this matter
     6 included advising NY Marine regarding its obligations to Ms. Heard in the underlying
     7 litigation, and specifically with respect to demands by Travelers and by Ms. Heard’s
     8 “personal counsel”—whom NY Marine would subsequently learn was retained and
     9 paid by Travelers—that NY Marine owed a duty to defend Ms. Heard through
   10 independent counsel, and that it must participate with Travelers in doing so the same
   11 claims which Travelers now litigates in this action. Although Travelers would not file
   12 this action until July of 2021, all of its claims arise directly out of the disputes between
   13 Travelers and the insured, on the one hand, and NY Marine, on the other, concerning
   14 NY Marine’s obligations to the insured in underlying litigation in Virginia, in
   15 connection with which NY Marine retained the undersigned and McCormick Barstow
   16 to advise it. By way of example, Travelers’ discovery requests, true and correct
   17 excerpts of which are attached hereto as Exhibit 1, seek NY Marine’s documents and
   18 communications concerning the underlying Virginia litigation involving Ms. Heard
   19 and NY Marine’s defense of her in that action.
   20         7.       In March 2021, in furtherance of the firm’s representation of NY Marine
   21 in this matter, my Partner, Mr. Rasmussen, assigned a project to Mr. Chipman. Mr.
   22 Rasmussen’s emails to Mr. Chipman concerning the assignment explained certain
   23 facts and legal theories, as well as the basis for his request and the nature of what
   24 information he expected Mr. Chipman to provide. Mr. Chipman subsequently
   25 responded to confirm that he had reviewed certain documents, and expressed an
   26 opinion regarding the manner in which the documents he had reviewed might impact
   27 NY Marine’s evaluation of its obligations. Copies of Mr. Rasmussen’s and Mr.
   28 Chipman’s emails are not being filed with this motion since they contain confidential

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     1 information subject to the attorney-client privilege and work-product doctrine. Mr.
     2 Chipman also performed work on several other matters for NY Marine.
     3        8.       In addition to work he performed on this matter, on February 23, 2022,
     4 Mr. Chipman attended a dinner at Boulevard Restaurant in San Francisco with myself,
     5 Messrs. Rasmussen and Van Leuven, and Ellen Fine, then NY Marine’s Counsel,
     6 Coverage and Litigation. During the course of the February 23, 2022 dinner, we
     7 discussed various factual issues bearing on NY Marine’s legal position, as well as our
     8 thoughts concerning the potential strengths and weaknesses of various arguments
     9 advanced by Travelers and NY Marine. The conversation also involved an extensive
   10 discussion of NY Marine’s actual or potential tactical and legal strategies respecting
   11 the litigation.
   12         9.       Mr. Chipman was also privy, either as a participant or bystander, to
   13 numerous conversations by and between myself and Messrs. Rasmussen, Knutson,
   14 and Van Leuven concerning both the underlying coverage dispute and this litigation,
   15 during which discussions confidential information was discussed, including the
   16 relevance of certain facts, the potential strengths and weaknesses of various
   17 arguments advanced by the parties, as well as discussions of NY Marine’s legal
   18 theories and strategies or potential strategies.
   19         10.      On April 1, 2022, Mr. Chipman terminated his employment with
   20 McCormick Barstow for new employment in the San Francisco office of Maynard
   21 Cooper in its Insurance and Financial Services Litigation Practice Group.
   22         11.      On March 1, 2023, I received an ECF service copy of the Court’s “Order
   23 on Request for Approval of Substitution of Attorney Or Withdrawal of Attorney”
   24 granting Mr. Boos and the Maynard Cooper firm’s substitution as counsel for
   25 Travelers. Shortly after receiving that notice, Mr. Rasmussen notified me of the fact
   26 that Maynard Cooper was the firm to which Mr. Chipman had gone after departing
   27 McCormick Barstow in April 2022, and that he was and remains employed in
   28 Maynard Cooper’s San Francisco office, in their Insurance and Financial Services

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     1 Litigation Practice Group, apparently under the direct supervision of Mr. Boos.
     2        12.     On March 2, 2023, I wrote to Mr. Boos observing that Mr. Chipman had
     3 been employed in McCormick Barstow’s Insurance Coverage and Bad Faith
     4 Litigation Practice Group immediately prior to his employment with Maynard Cooper
     5 and noting that such prior employment gave rise to an ethical conflict of interest
     6 requiring Maynard Cooper’s withdrawal. My letter specifically stated that Mr.
     7 Chipman had actually worked for NY Marine on this matter, and had actually received
     8 NY Marine’s confidential information concerning this litigation by way of his work
     9 on the file, in conversations with myself, and Messrs. Rasmussen, and Van Leuven,
   10 and indeed, during the February 23, 2022 dinner with NY Marine’s Coverage and
   11 Litigation Counsel. The letter observed that as a result, Mr. Chipman had an actual
   12 conflict which was imputed to Maynard Cooper, and quoted the well-established
   13 California law holding that “when ‘the tainted attorney was actually involved in the
   14 representation of the first client, and switches sides in the same case, no amount of
   15 screening will be sufficient, and the presumption of imputed knowledge is conclusive’
   16 thereby requiring the disqualification of the tainted firm.” Kirk v. First Am. Title Ins.
   17 Co., 183 Cal.App.4th 776, 814 (2010) (citing Henriksen v. Great Am. Savings & Loan,
   18 11 Cal.App.4th 109, 115, 117 (1992) and Meza v. H. Muehlstein & Co., Inc., 176
   19 Cal.App.4th 969, 979 (2000)).” Accordingly, my letter conveyed NY Marine’s
   20 request that Maynard Cooper “immediately withdraw from Travelers’ representation
   21 in this matter.” A true and correct copy of my March 2, 2023 Letter is attached hereto
   22 as Exhibit 2.
   23         13.     On March 9, 2023, Mr. Boos responded to my letter of March 2, 2023.
   24 That response asserted that Mr. Chipman “has not had any involvement in this
   25 matter”, “is not disqualified from working on this matter”, and that “his alleged
   26 disqualification is not imputed to other members of [Maynard Cooper].” It further
   27 asserted that Mr. Chipman:
   28         … did not represent your client, New York General Insurance Company

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     1        [sic] in the above referenced action while he worked at your firm. He
     2        was not assigned to that matter by your firm, he did not make any
     3        appearances in that matter, and he has no recollection of performing any
     4        work on that matter.
     5 Mr. Boos’s March 9, 2023 letter further asserted that under Rule 1.10(a) of the
     6 California Rules of Professional Conduct, “even if” Mr. Chipman “was disqualified,
     7 his disqualification is not imputed to [Maynard Cooper].” (Id.) Maynard Cooper’s
     8 March 9, 2023 letter also asserted that Mr. Chipman:
     9        … was timely screened. Although Mr. Chipman was not disqualified
   10         and, as discussed above, has no confidential information, we
   11         nevertheless developed a screen in response to your letter asserting a
   12         conflict. To that end, Mr. Chipman has not worked on the above-
   13         referenced action nor will he do so; he is “walled off” from any
   14         information pertaining to the matter, including being unable to access
   15         paper or electronic files; no attorney or employee of our firm will
   16         communicate with him regarding the action; an email memorandum has
   17         been circulated warning legal staff to isolate him from communications
   18         regarding the above-reference action and to prevent access to file
   19         materials; and reminder memoranda will be sent to legal staff every 60
   20         days.
   21 A true and correct copy of Mr. Boos’s March 9, 2023 letter is attached hereto as
   22 Exhibit 3.
   23         14.     On March 23, 2023, I wrote a further letter to Mr. Boos in order to
   24 address the erroneous factual and legal contentions asserted in his March 9, 2023
   25 letter. My March 23, 2023 response addressed in detail the facts establishing Mr.
   26 Chipman’s actual work for NY Marine on this very matter, his undoubted receipt of
   27 NY Marine’s confidential information concerning the coverage matters which
   28 underlie this litigation as well as this specific litigation. It again recited the well-

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     1 established California law providing that where an attorney directly represents a party
     2 and then “switches sides” in that same matter, the conflict is direct, is imputed to the
     3 new firm, and requires the new firm’s disqualification “automatically” and as a
     4 “bright line” rule. It also again requested that Maynard Cooper acknowledge the
     5 existence of the conflict and confirm that it would withdraw, or that Mr. Boos “let us
     6 know when you are available next week for a telephonic ‘meet and confer’ conference
     7 in connection with NY Marine’s motion to disqualify Maynard Cooper.” A true and
     8 correct copy of my March 23, 2023 letter is attached hereto as Exhibit 4.
     9        15.      Having not received either: (1) confirmation of Maynard Cooper’s
   10 acknowledgment of the conflict and agreement to withdraw; or (2) a proposed time
   11 for a telephonic “meet and confer” conference concerning these matters, on March
   12 28, 2023, the undersigned unilaterally proposed a “meet and confer” call on Thursday,
   13 March 30, 2023 at 1:00 p.m. On March 30, 2023, Mr. Boos responded that he was
   14 unavailable at that time, but would be available on March 31, 2023, and the parties
   15 subsequently met and conferred telephonically on March 31, 2023, however no
   16 agreement resolving the present dispute was reached. A true and correct copy of the
   17 March 28, 2023 and March 30, 2023 emails between Mr. Boos and myself are
   18 attached hereto as Exhibit 5.
   19         16.      On April 5, 2023, I caused to be obtained from the website of the State
   20 Bar of California, a copy of the Attorney Profile for Matthew A. Chipman maintained
   21 by the State Bar of California, identifying his date of licensure in California, a true
   22 and correct copy of which is attached hereto as Exhibit 6.
   23         17.      On April 5, 2023, I caused to be obtained from the website of Maynard
   24 Cooper & Gale, LLP, webpages identifying the attorneys in its San Francisco Office
   25 as well as their status as Partners, Of Counsel, or Associates if the firm, a true and
   26 correct copy of which is attached hereto as Exhibit 7.
   27         18.      On April 5, 2023, I caused to be obtained from the website of Maynard
   28 Cooper & Gale, LLP, webpages identifying the specialty of each of the attorneys

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     1 listed as members of Maynard Cooper’s San Francisco office, as well as their
     2 respective status as Partners, Of Counsel, or Associates of the firm, true and correct
     3 copies of which are attached hereto as Exhibit 8.
     4               I declare under penalty of perjury that the foregoing is true and correct.
     5 Executed in Fresno, California, on April 10, 2023.
     6
     7                                                   By:               /s/ James P. Wagoner
     8                                                                    James P. Wagoner
     9   9021513.1


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                          EXHIBIT 1
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                                 #:1503



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     KATHLEEN O. PETERSON (State Bar #124791)
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 6
     Attorneys for Plaintiff
 7   TRAVELERS COMMERCIAL
     INSURANCE COMPANY
 8
                        UNITED STATES DISTRICT COURT
 9
                 FOR THE CENTRAL DISTRICT OF CALIFORNIA
10
11   TRAVELERS COMMERCIAL       ) Case No.: 2:21-cv-5832-GW (PDx)
     INSURANCE COMPANY, a       ) Hon. George H. Wu
12   Connecticut corporation,   ) Hon. M.J. Patricia Donahue
                                )
13              Plaintiff,      ) PLAINTIFF TRAVELERS
                                ) COMMERCIAL INSURANCE
14               v.             ) COMPANY’S FIRST SET OF
                                ) INTERROGATORIES TO
15   NEW YORK MARINE AND        ) DEFENDANT NEW YORK
     GENERAL INSURANCE COMPANY, ) MARINE AND GENERAL
16   a New York corporation,    ) INSURANCE COMPANY
                                )
17              Defendants.     )
                                )
18                              )
                                )
19                              )
                                )
20
21
22
23   PROPOUNDING PARTY:          TRAVELERS COMMERCIAL
                                 INSURANCE COMPANY
24
     RESPONDING PARTY:           NEW YORK MARINE AND GENERAL
25                               INSURANCE COMPANY
26   SET NO.:                    ONE
27
28
                    PLAINTIFF’S FIRST SET OF INTERROGATORIES
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                                 #:1504



 1                      INTRODUCTION AND INSTRUCTIONS
 2         PLEASE TAKE NOTICE that, pursuant to Federal Rule of Civil Procedure
 3   33, plaintiff Travelers Commercial Insurance Company ("TRAVELERS") hereby
 4   requests that defendant New York Marine And General Insurance Company
 5   ("NEW YORK MARINE") respond to the interrogatories set forth below. These
 6   responses should be stated separately, fully, in writing, within 30 days of service.
 7                                     DEFINITIONS
 8         Words in capital are defined as follows:
 9         1. The term "CAMERON MCEVOY" means the law firm Cameron McEvoy
10   PLLC.
11         2. The term "COMMUNICATION" or "COMMUNICATED" means any
12   exchange of information, statement, or discussion between or among two or more
13   PERSONS, including but not limited to, face-to-face conversation, telephone
14   conversations, video conversations, correspondence, memoranda, emails,
15   telegrams, telexes, facsimiles, meetings, discussions, releases, statements,
16   publications, or any recordings or reproductions.
17         3. The term "INDEPENDENT COUNSEL" means counsel retained by the
18   insured and funded by TRAVELERS, including Charlson Bredehoft Cohen Brown
19   & Nadelhaft P.C. and Kaplan Hecker & Fink.
20         4. The term "INSURED" means and refers to the defendant in the
21   UNDERLYING ACTION, Amber Laura Heard, to whom both TRAVELERS and
22   NEW YORK MARINE issued insurance policies.
23         5.     The “PROSIGHT POLICY” means the insurance policy issued by
24   YOU to “Under the Black Sky, Inc.” and “Amber Heard, an individual,” policy
25   no. GL201800012500, effective for the one year term beginning July 18, 2018.
26         6. The term "UNDERLYING ACTION" means and refers to the action
27   entitled John C. Depp, II v. Amber Laura Heard, which was filed on January 4,
28   2017, in Fairfax County, Virginia Circuit Court and bears case number CL-2019-
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                       PLAINTIFF’S FIRST SET OF INTERROGATORIES
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 1   0002911.
 2         7. The term "TRAVELERS" mean and refer to Travelers Commercial
 3   Insurance Company and includes anyone acting on Travelers Commercial
 4   Insurance Company's behalf, such as all agents, representatives, attorneys, and/or
 5   other persons acting or purporting to act on behalf of Travelers Commercial
 6   Insurance Company for any purpose.
 7         8. “YOU,” “PROSIGHT,” and "NEW YORK MARINE" each means and
 8   refers to New York Marine and General Insurance Company and includes anyone
 9   acting on New York Marine and General Insurance Company's behalf, such as all
10   agents, representatives, attorneys and/or other person acting or purporting to act on
11   behalf of New York Marine and General Insurance Company for any purpose.
12   “YOU,” “PROSIGHT,” and "NEW YORK MARINE" each also means and refers
13   to ProSight Specialty Management Company, Inc. and includes anyone acting on
14   ProSight Specialty Management Company, Inc.'s behalf, such as all agents,
15   representatives, attorneys and/or other person acting or purporting to act on behalf
16   of ProSight Specialty Management Company, Inc. for any purpose.
17                                 INTERROGATORIES
18   INTERROGATORY NO. 1:
19         State the amount you have paid CAMERON MCEVOY for its work
20   defending the INSURED in the Underlying Action.
21   INTERROGATORY NO. 2:
22         Describe in detail (including invoice date and service provider) each amount
23   you have reimbursed TRAVELERS in connection with its defense of the
24   INSURED in the UNDERLYING ACTION.
25   INTERROGATORY NO. 3:
26         If you contend that any amount that TRAVELERS paid toward the
27   INSURED’S defense in the UNDERLYING ACTION was unreasonable, describe
28   that amount with specificity (including the invoice date, serviced provider, and a
                                           2
                      PLAINTIFF’S FIRST SET OF INTERROGATORIES
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                                 #:1506



 1   description of the line item).
 2   INTERROGATORY NO. 4:
 3         If it is YOUR contention that CAMERON MCEVOY had an attorney-client
 4   relationship with the INSURED, but not with PROSIGHT, regarding the
 5   UNDERLYING ACTION, explain the legal basis of CAMERON MCEVOY
 6   sharing privileged information regarding the defense of the UNDERLYING
 7   ACTION with PROSIGHT.
 8   INTERROGATORY NO. 5:
 9         Describe all actions YOU took to obtain INDEPENDENT COUNSEL’s
10   cooperation with CAMERON MCEVOY in the defense of the INSURED in the
11   UNDERLYING ACTION.
12   INTERROGATORY NO. 6:
13         Describe all actions CAMERON MCEVOY took to obtain INDEPENDENT
14   COUNSEL’s cooperation with CAMERON MCEVOY in the defense of the
15   INSURED in the UNDERLYING ACTION.
16   INTERROGATORY NO. 7:
17         Describe in detail all COMMUNICATIONS in which YOU warned the
18   INSURED that if cooperation with CAMERON MCEVOY in the defense of the
19   INSURED in the UNDERLYING ACTION did not improve, the INSURED would
20   lose rights regarding the UNDERLYING ACTION.
21   INTERROGATORY NO. 8:
22         Describe in detail all acts (including failures to act) by anyone which YOU
23   contend violated a duty to YOU in connection with the defense of the
24   UNDERLYING ACTION.
25   INTERROGATORY NO. 9:
26         Describe in detail all substantial prejudice YOU contend that YOU have
27   suffered as a result of any violation of a duty to YOU in connection with the
28   defense of the UNDERLYING ACTION.
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                       PLAINTIFF’S FIRST SET OF INTERROGATORIES
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 1   INTERROGATORY NO. 10:
 2         State all facts which you contend support the contention at paragraph 18 of
 3   YOUR counterclaim that in defending the INSURED in the UNDERLYING
 4   ACTION, TRAVELERS incurred “far in excess of the amounts which Travelers
 5   was required to pay in light of the provisions of Civil Code § 2860(c) upon which
 6   it could have relied.”
 7   INTERROGATORY NO. 11:
 8         State all facts which you contend support the contention at paragraph 22 of
 9   YOUR counterclaim that in defending the INSURED in the UNDERLYING
10   ACTION, “Travelers has inhibited and obstructed New York Marine’s ongoing
11   participation in the defense of the insured.”
12   INTERROGATORY NO. 12:
13         In light of the allegation in paragraph 30 of your counterclaim that “[u]nder
14   Virginia law, insurer-appointed defense counsel only has the insured for a client,”
15   state the legal basis upon which the CAMERON MCEVOY firm shared
16   information protected by the INSURED’s attorney-client privilege with
17   PROSIGHT without violating the firm’s duty of loyalty to the INSURED.
18   INTERROGATORY NO. 13:
19         State all facts which you contend support the contention at paragraph 53 of
20   YOUR counterclaim that “Because of the insured’s and Travelers’ ‘refusal’ of the
21   defense offered by New York Marine and Travelers’ unclean hands, Travelers is
22   not entitled to any recovery for amounts incurred by it in the defense of the
23   Underlying Action.”
24   INTERROGATORY NO. 14:
25         State all facts which you contend support the contention at paragraph 54 of
26   YOUR counterclaim that “New York Marine is entitled to recover the sum of
27   $621,693.43 previously paid to Travelers on or about January 18, 2022 under
28   reservation of rights, in reimbursement of 50% of the defense fees incurred by
                                            4
                       PLAINTIFF’S FIRST SET OF INTERROGATORIES
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 1   independent counsel and paid by Travelers for the period from Cameron McEvoy’s
 2   withdrawal on November 6, 2020 through February 28, 2021, under reservation of
 3   New York Marine’s rights, as well as interest on that amount from January 18,
 4   2022.”
 5   INTERROGATORY NO. 15:
 6         State the amount that YOU have reimbursed TRAVELERS for the
 7   INSURED’s defense in the UNDERLYING ACTION for the period from
 8   March 1, 2021, to the present.
 9   INTERROGATORY NO. 16:
10         State in detail the reasons why YOU have not reimbursed TRAVELERS any
11   portion of the money it incurred for the INSURED’s defense in the
12   UNDERLYING ACTION for the period from March 1, 2021, to the present.
13   INTERROGATORY NO. 17:
14         State in detail YOUR position (including reasons) as to whether the law
15   stated in San Diego Navy Federal Credit Union v. Cumis Insurance Society, 162
16   Cal. App. 3d 358 (1984), governs YOUR defense obligations to the INSURED
17   regarding the UNDERLYING ACTION.
18   INTERROGATORY NO. 18:
19         State in detail YOUR position (including reasons) as to whether the law
20   stated in California Civil Code section 2860 governs YOUR defense relationship to
21   the INSURED regarding the UNDERLYING ACTION.
22   INTERROGATORY NO. 19:
23         Describe in detail all duties to YOU regarding the UNDERLYING ACTION
24   which you contend that TRAVELERS breached.
25   INTERROGATORY NO. 20:
26         For each of the alleged breaches of duty by TRAVELERS you described in
27   your response to the prior interrogatory, describe with specificity the legal source
28   of that duty.
                                            5
                       PLAINTIFF’S FIRST SET OF INTERROGATORIES
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 1   INTERROGATORY NO. 21:
 2         For each of the alleged breaches of duty by TRAVELERS you described in
 3   your response to interrogatory no. 19 and 20, describe with specificity the
 4   substantial prejudice to YOU, if any, which resulted.
 5   INTERROGATORY NO. 22:
 6         State all facts which you contend supports the portion of the prayer to
 7   YOUR answer to TRAVELERS’ first amended complaint (item 2(a)) that “NEW
 8   YORK MARINE has no duty to defend the mutual insured.”
 9   INTERROGATORY NO. 23:
10         State all facts which you contend supports the portion of the prayer to
11   YOUR answer to TRAVELERS’ first amended complaint (item 2(b)) that “NEW
12   YORK MARINE has no obligation to provide the insured with a defense with
13   independent defense counsel of the insured’s choosing.”
14   INTERROGATORY NO. 24:
15         State all facts which you contend support each of the affirmative defenses
16   YOU assert to TRAVELERS’ first amended complaint.
17   INTERROGATORY NO. 25:
18         For each response to the Requests for Admission served concurrently that
19   are not unqualified admissions, state all facts in support of YOUR denial or
20   qualified admission.
21
22   Dated: October 10, 2022
23
                                               /s/ Mark D. Peterson
24                                          MARK D. PETERSON
                                            Of CATES PETERSON LLP
25                                          Attorneys for Plaintiff
                                            TRAVELERS COMMERCIAL
26                                          INSURANCE COMPANY
27
28
                                           6
                      PLAINTIFF’S FIRST SET OF INTERROGATORIES
Case 2:21-cv-05832-GW-PD Document 106-3 Filed 04/10/23 Page 17 of 74 Page ID
                                 #:1510



 1                                 PROOF OF SERVICE

 2         I, the undersigned, certify and declare that I am over the age of 18 years,
 3   employed in the County of Orange, State of California, and not a party to this
     action. My business address is 4100 Newport Place, Suite 230, Newport Beach,
 4   CA 92660. On October 10, 2022, I served the named below on the parties in this
 5   action as follows:

 6   PLAINTIFF TRAVELERS COMMERCIAL INSURANCE COMPANY’S
 7   FIRST SET OF INTERROGATORIES TO DEFENDANT NEW YORK
     MARINE AND GENERAL INSURANCE COMPANY
 8
 9          [X] (E-SERVICE) by transmitting via e-mail the document(s) listed above
     to the e-mail addresses set forth below.
10
             James P. Wagoner
11           Nicholas H. Rasmussen
             Alexander R. Morrow
12           McCormick, Barstow, Sheppard, Wayte & Carruth LLP
             7647 North Fresno Street
13           Fresno, California 93720
14           Email: jim.wagoner@mccormickbarstow.com
                    nrasmussen@mccormickbarstow.com
15                  alexander.morrow@mccormickbarstow.com
16
17         I hereby certify that I am employed in the office of a member of the Bar of this
     Court at whose direction the service was made.
18
19          I declare under penalty of perjury under the laws of the State of California that
     the foregoing is true and correct.
20
21         Executed on October 10, 2022, at Newport Beach, California.

22
23
24
25                                                             Melinda Yang
26
27
28
                                      PROOF OF SERVICE
Case 2:21-cv-05832-GW-PD Document 106-3 Filed 04/10/23 Page 18 of 74 Page ID
                                 #:1511



 1   MARK D. PETERSON (State Bar #126174)
     KATHLEEN O. PETERSON (State Bar #124791)
 2   AMY HOWSE (State Bar # 252922)
     CATES PETERSON LLP
 3   4100 Newport Place, Suite 230
     Newport Beach, CA 92660
 4   Telephone: (949) 724-1180
     markpeterson@catespeterson.com
 5   kpeterson@catespeterson.com
     ahowse@catespeterson.com
 6
     Attorneys for Plaintiff
 7   TRAVELERS COMMERCIAL
     INSURANCE COMPANY
 8
                        UNITED STATES DISTRICT COURT
 9
                 FOR THE CENTRAL DISTRICT OF CALIFORNIA
10
11   TRAVELERS COMMERCIAL       ) Case No.: 2:21-cv-5832-GW (PDx)
     INSURANCE COMPANY, a       ) Hon. George H. Wu
12   Connecticut corporation,   ) Hon. M.J. Patricia Donahue
                                )
13              Plaintiff,      ) PLAINTIFF TRAVELERS
                                ) COMMERCIAL INSURANCE
14               v.             ) COMPANY’S FIRST REQUEST
                                ) FOR ADMISSIONS TO
15   NEW YORK MARINE AND        ) DEFENDANT NEW YORK
     GENERAL INSURANCE COMPANY, ) MARINE AND GENERAL
16   a New York corporation,    ) INSURANCE COMPANY
                                )
17              Defendants.     )
                                )
18                              )
                                )
19                              )
                                )
20
21
22
23   PROPOUNDING PARTY:          TRAVELERS COMMERCIAL
                                 INSURANCE COMPANY
24
     RESPONDING PARTY:           NEW YORK MARINE AND GENERAL
25                               INSURANCE COMPANY
26   SET NO.:                    ONE
27
28
                PLAINTIFF’S FIRST SET OF REQUESTS FOR ADMISSIONS
Case 2:21-cv-05832-GW-PD Document 106-3 Filed 04/10/23 Page 19 of 74 Page ID
                                 #:1512



 1                      INTRODUCTION AND INSTRUCTIONS
 2         PLEASE TAKE NOTICE that, pursuant to Federal Rule of Civil Procedure
 3   36, plaintiff Travelers Commercial Insurance Company ("TRAVELERS") hereby
 4   requests that defendant New York Marine And General Insurance Company
 5   ("NEW YORK MARINE") admit within thirty days after service of these Requests
 6   for Admission, Set One, that each matter listed below is true.
 7         If you fail to comply with the provisions of Federal Rule of Civil Procedure
 8   36, with respect to these Requests for Admission, Set One, each of the matters on
 9   which an admission is requested will be automatically deemed admitted pursuant
10   to Rule 36(a)(3). Denial of any matter later proven may form the basis of a motion
11   to assert costs under Federal Rule of Civil Procedure 37(c)(2).
12                                     DEFINITIONS
13         Words in capital are defined as follows:
14         1. The term "CAMERON MCEVOY" means the law firm Cameron McEvoy
15   PLLC.
16         2. The term "INDEPENDENT COUNSEL" means counsel retained by the
17   insured and funded by TRAVELERS, including Charlson Bredehoft Cohen Brown
18   & Nadelhaft P.C. and Kaplan Hecker & Fink.
19         3. The term "INSURED" means and refers to the defendant in the
20   UNDERLYING ACTION, Amber Laura Heard, to whom both TRAVELERS and
21   NEW YORK MARINE issued insurance policies.
22         4.     The “PROSIGHT POLICY” means the insurance policy issued by
23   YOU to “Under the Black Sky, Inc.” and “Amber Heard, an individual,” policy
24   no. GL201800012500, effective for the one year term beginning July 18, 2018.
25         5. The term "UNDERLYING ACTION" means and refers to the action
26   entitled John C. Depp, II v. Amber Laura Heard, which was filed on January 4,
27   2017, in Fairfax County, Virginia Circuit Court and bears case number CL-2019-
28   0002911.
                                          1
                 PLAINTIFF’S FIRST SET OF REQUESTS FOR ADMISSIONS
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                                 #:1513



 1         6. “YOU,” “PROSIGHT,” and "NEW YORK MARINE" each means and
 2   refers to New York Marine and General Insurance Company and includes anyone
 3   acting on New York Marine and General Insurance Company's behalf, such as all
 4   agents, representatives, attorneys and/or other person acting or purporting to act on
 5   behalf of New York Marine and General Insurance Company for any purpose.
 6   “YOU,” “PROSIGHT,” and "NEW YORK MARINE" each also means and refers
 7   to ProSight Specialty Management Company, Inc. and includes anyone acting on
 8   ProSight Specialty Management Company, Inc.'s behalf, such as all agents,
 9   representatives, attorneys and/or other person acting or purporting to act on behalf
10   of ProSight Specialty Management Company, Inc. for any purpose.
11                            REQUESTS FOR ADMISSION
12   REQUEST FOR ADMISSION NO. 1:
13         Admit that the INSURED tendered the defense of the UNDERLYING
14   ACTION to YOU on or about September 3, 2019.
15   REQUEST FOR ADMISSION NO. 2:
16         Admit that upon tender of the UNDERLYING ACTION to YOU, YOU
17   owed the INSURED a defense in that action under the terms of the PROSIGHT
18   POLICY.
19   REQUEST FOR ADMISSION NO. 3:
20         Admit that at all times after tender of the UNDERLYING ACTION to YOU,
21   YOU owed the INSURED a defense in that action under the terms of the
22   PROSIGHT POLICY.
23   REQUEST FOR ADMISSION NO. 4:
24         Admit that YOU continue to owe the INSURED a defense in the
25   UNDERLYING ACTION through the appeal of that action.
26   REQUEST FOR ADMISSION NO. 5:
27         Admit that upon tender of the UNDERLYING ACTION to YOU, YOU
28   owed the INSURED a defense in that action under the terms of the PROSIGHT
                                          2
                 PLAINTIFF’S FIRST SET OF REQUESTS FOR ADMISSIONS
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                                 #:1514



 1   POLICY with independent counsel of the INSURED’s choosing.
 2   REQUEST FOR ADMISSION NO. 6:
 3        Admit that YOU have not met all of YOUR obligations to defend the
 4   INSURED in the UNDERLYING ACTION.
 5   REQUEST FOR ADMISSION NO. 7:
 6        Admit that YOUR duty to defend the INSURED in the UNDERLYING
 7   ACTION has never been excused.
 8   REQUEST FOR ADMISSION NO. 8:
 9        Admit that YOU owe equitable contribution to TRAVELERS in connection
10   with TRAVELERS’ payment of the INSURED’s defense of the UNDERLYING
11   ACTION.
12   REQUEST FOR ADMISSION NO. 9:
13        Admit that, based upon YOUR and TRAVELERS’ respective insurance
14   policy “Other Insurance” clauses, from November 6, 2020, when CAMERON
15   MCEVOY withdrew from its participation in the defense of the INSURED in the
16   UNDERLYING ACTION, YOU owe TRAVELERS 100% reimbursement of the
17   defense fees, costs, and expenses TRAVELERS incurred defending the INSURED
18   in the UNDERLYING ACTION.
19   REQUEST FOR ADMISSION NO. 10:
20        Admit that from November 6, 2020, when CAMERON MCEVOY withdrew
21   from its participation in the defense of the INSURED in the UNDERLYING
22   ACTION, YOU owe TRAVELERS 50% reimbursement of the defense fees, costs,
23   and expenses TRAVELERS incurred defending the INSURED in the
24   UNDERLYING ACTION.
25   REQUEST FOR ADMISSION NO. 11:
26        Admit that YOU and CAMERON MCEVOY had an understanding that
27   CAMERON MCEVOY could “lay low” and let INDEPENDENT COUNSEL and
28   TRAVELERS shoulder the burden of the INSURED’s defense of the
                                         3
                PLAINTIFF’S FIRST SET OF REQUESTS FOR ADMISSIONS
Case 2:21-cv-05832-GW-PD Document 106-3 Filed 04/10/23 Page 22 of 74 Page ID
                                 #:1515



 1   UNDERLYING ACTION.
 2   REQUEST FOR ADMISSION NO. 12:
 3         Admit that, from November 6, 2020, when CAMERON MCEVOY
 4   withdrew from its participation in the defense of the INSURED in the
 5   UNDERLYING ACTION, YOU have not appointed any law firm to defend the
 6   INSURED.
 7   REQUEST FOR ADMISSION NO. 13:
 8         Admit that, from November 6, 2020, when CAMERON MCEVOY
 9   withdrew from its participation in the defense of the INSURED in the
10   UNDERLYING ACTION, YOU have not done anything to meet your obligation
11   to defend the INSURED.
12   REQUEST FOR ADMISSION NO. 14:
13         Admit that from November 6, 2020, when CAMERON MCEVOY withdrew
14   from its participation in the defense of the INSURED in the UNDERLYING
15   ACTION, YOU owe equitable contribution to TRAVELERS in connection with
16   TRAVELERS’ payment of the INSURED’s defense of the UNDERLYING
17   ACTION from November 6, 2020.
18   REQUEST FOR ADMISSION NO. 15:
19         Admit that YOU have failed to meet YOUR obligation to TRAVELERS to
20   share the expenses of the INSURED’s defense in the UNDERLYING ACTION.
21   REQUEST FOR ADMISSION NO. 16:
22         Admit that YOU have failed to meet YOUR obligation to TRAVELERS to
23   share the expenses of the INSURED’s defense in the UNDERLYING ACTION
24   from November 6, 2020, when CAMERON MCEVOY withdrew from its
25   participation in the defense of the INSURED in the UNDERLYING ACTION.
26   REQUEST FOR ADMISSION NO. 17:
27         Admit that YOU have not reimbursed TRAVELERS half of the amounts it
28   has paid in the INSURED’s defense in the UNDERLYING ACTION from
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                 PLAINTIFF’S FIRST SET OF REQUESTS FOR ADMISSIONS
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 1   November 6, 2020, when CAMERON MCEVOY withdrew from its participation
 2   in the defense of the INSURED in the UNDERLYING ACTION.
 3   REQUEST FOR ADMISSION NO. 18:
 4         Admit that YOUR duty to pay equitable contribution to TRAVELERS in
 5   connection with TRAVELERS’ payment of the INSURED’s defense of the
 6   UNDERLYING ACTION has never been excused.
 7   REQUEST FOR ADMISSION NO. 19:
 8         Admit that YOUR payment to TRAVELERS of $621,693.43 in
 9   reimbursement on or about January 19, 2022, is the only amount you have paid
10   TRAVELERS related to its defense of the INSURED in the UNDERLYING
11   ACTION.
12   REQUEST FOR ADMISSION NO. 20:
13         Admit that YOU have reimbursed TRAVELERS nothing for the
14   INSURED’s defense in the UNDERLYING ACTION for the period from
15   March 1, 2021, to the present.
16   REQUEST FOR ADMISSION NO. 21:
17         Admit that at all times the CAMERON NCEVOY firm represented the
18   INSURED in the UNDERLYING ACTION, that none of the attorneys there were
19   licensed to practice law in the State of California.
20   REQUEST FOR ADMISSION NO. 22:
21         Admit that the INSURED’s defense of the UNDERLYING ACTION
22   required attorneys licensed to practice law in the State of California.
23   REQUEST FOR ADMISSION NO. 23:
24         Admit that YOU never engaged any attorneys licensed to practice law in
25   California to participate in the INSURED’s defense of the UNDERLYING
26   ACTION.
27
28
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                  PLAINTIFF’S FIRST SET OF REQUESTS FOR ADMISSIONS
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 1   REQUEST FOR ADMISSION NO. 24:
 2         Admit that the attorneys at CAMERON MCEVOY did not actively
 3   participate in the INSURED’s defense of the UNDERLYING ACTION.
 4   REQUEST FOR ADMISSION NO. 25:
 5         Admit that, during their engagement by YOU to be the INSURED’s defense
 6   attorneys in the UNDERLYING ACTION, the attorneys at CAMERON
 7   MCEVOY wrote YOU numerous times sharing information protected by the
 8   INSURED’s attorney-client privilege.
 9   REQUEST FOR ADMISSION NO. 26:
10         Admit that, during their engagement by YOU to be the INSURED’s defense
11   attorneys in the UNDERLYING ACTION, the attorneys at CAMERON
12   MCEVOY wrote YOU numerous times complaining that the INSURED’s
13   INDEPENDENT COUNSEL were not adequately facilitating CAMERON
14   MCEVOY’s participation in the defense as co-counsel.
15   REQUEST FOR ADMISSION NO. 27:
16         Admit that by complaining to YOU that the INSURED’s INDEPENDENT
17   COUNSEL were not adequately facilitating CAMERON MCEVOY’s participation
18   in the defense as co-counsel, the attorney’s at the CAMERON MCEVOY firm
19   breached their duty of loyalty to the INSURED.
20   REQUEST FOR ADMISSION NO. 28:
21         Admit that while CAMERON MCEVOY was participating in the
22   INSURED’s defense of the UNDERLYING ACTION, you never told the
23   INSURED that she could lose rights under the PROSIGHT POLICY if
24   INDEPENDENT COUNSEL did not cooperate better with CAMERON
25   MCEVOY.
26   REQUEST FOR ADMISSION NO. 29:
27         Admit that while CAMERON MCEVOY was participating in the
28   INSURED’s defense of the UNDERLYING ACTION, you never told the
                                          6
                 PLAINTIFF’S FIRST SET OF REQUESTS FOR ADMISSIONS
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                                 #:1518



 1   INSURED’s attorneys that she could lose rights under the PROSIGHT POLICY if
 2   INDEPENDENT COUNSEL did not cooperate better with CAMERON
 3   MCEVOY.
 4   REQUEST FOR ADMISSION NO. 30:
 5         Admit that the alleged failure by the INSURED’s INDEPENDENT
 6   COUNSEL to adequately cooperate with co-counsel CAMERON MCEVOY in the
 7   defense of the UNDERLYING ACTION did not cause YOU substantial prejudice.
 8   REQUEST FOR ADMISSION NO. 31:
 9         Admit that one of the reasons that CAMERON MCEVOY withdrew from
10   the INSURED’s defense of the UNDERLYING ACTION was frustration by at
11   least one of the firm’s attorneys that PROSIGHT’s billing review system resulted
12   in the firm being told that it would not be paid by PROSIGHT for work which
13   PROSIGHT had asked it to perform.
14   REQUEST FOR ADMISSION NO. 32:
15         Admit that California law governs YOUR defense obligations to the
16   INSURED regarding the UNDERLYING ACTION.
17   REQUEST FOR ADMISSION NO. 33:
18         Admit that the law stated in San Diego Navy Federal Credit Union v. Cumis
19   Insurance Society, 162 Cal. App. 3d 358 (1984), governs YOUR defense
20   obligations to the INSURED regarding the UNDERLYING ACTION.
21   REQUEST FOR ADMISSION NO. 34:
22         Admit that the law stated in California Civil Code section 2860 governs
23   YOUR defense obligations to the INSURED regarding the UNDERLYING
24   ACTION.
25   REQUEST FOR ADMISSION NO. 35:
26         Admit that during the trial of the UNDERLYING ACTION, Pamela Johnson
27   of TRAVELERS shared her daily reports of the day’s events with YOU.
28
                                          7
                 PLAINTIFF’S FIRST SET OF REQUESTS FOR ADMISSIONS
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                                 #:1519



 1   REQUEST FOR ADMISSION NO. 36:
 2         Admit that by representing the INSURED in her defense of the
 3   UNDERLYING ACTION, while simultaneously sharing with PROSIGHT
 4   information protected by the INSURED’s attorney-client privilege, the
 5   CAMERON MCEVOY firm violated its duty of loyalty to the INSURED.
 6   REQUEST FOR ADMISSION NO. 37:
 7         Admit that while representing the INSURED in her defense of the
 8   UNDERLYING ACTION, the CAMERON MCEVOY firm provided YOU with
 9   information protected by the INSURED’s attorney-client privilege, the sharing of
10   which was detrimental to the INSURED.
11   REQUEST FOR ADMISSION NO. 38:
12         Admit that YOU requested information from the CAMERON MCEVOY
13   firm regarding its defense of the UNDERLYING ACTION which was protected by
14   the INSURED’s attorney-client privilege from disclosure by the firm to YOU.
15   REQUEST FOR ADMISSION NO. 39:
16         Admit that YOU are using information against the INSURED which was
17   protected by the INSURED’s attorney-client privilege from disclosure to YOU by
18   the CAMERON MCEVOY and which you gained from the CAMERON
19   MCEVOY disclosing it to YOU without the INSURED’s permission.
20
21   Dated: October 10, 2022
22
                                             /s/ Mark D. Peterson
23                                        MARK D. PETERSON
                                          Of CATES PETERSON LLP
24                                        Attorneys for Plaintiff
                                          TRAVELERS COMMERCIAL
25                                        INSURANCE COMPANY
26
27
28
                                          8
                 PLAINTIFF’S FIRST SET OF REQUESTS FOR ADMISSIONS
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                                 #:1520



 1                                 PROOF OF SERVICE

 2         I, the undersigned, certify and declare that I am over the age of 18 years,
 3   employed in the County of Orange, State of California, and not a party to this
     action. My business address is 4100 Newport Place, Suite 230, Newport Beach,
 4   CA 92660. On October 10, 2022, I served the named below on the parties in this
 5   action as follows:

 6   PLAINTIFF TRAVELERS COMMERCIAL INSURANCE COMPANY’S
 7   FIRST REQUEST FOR ADMISSIONS TO DEFENDANT NEW YORK
     MARINE AND GENERAL INSURANCE COMPANY
 8
 9          [X] (E-SERVICE) by transmitting via e-mail the document(s) listed above
     to the e-mail addresses set forth below.
10
             James P. Wagoner
11           Nicholas H. Rasmussen
             Alexander R. Morrow
12           McCormick, Barstow, Sheppard, Wayte & Carruth LLP
             7647 North Fresno Street
13           Fresno, California 93720
14           Email: jim.wagoner@mccormickbarstow.com
                    nrasmussen@mccormickbarstow.com
15                  alexander.morrow@mccormickbarstow.com
16
17         I hereby certify that I am employed in the office of a member of the Bar of this
     Court at whose direction the service was made.
18
19          I declare under penalty of perjury under the laws of the State of California that
     the foregoing is true and correct.
20
21         Executed on October 10, 2022, at Newport Beach, California.

22
23
24
25                                                             Melinda Yang
26
27
28
                                      PROOF OF SERVICE
Case 2:21-cv-05832-GW-PD Document 106-3 Filed 04/10/23 Page 28 of 74 Page ID
                                 #:1521




                       EXHIBIT 2
                        Case 2:21-cv-05832-GW-PD Document 106-3 Filed 04/10/23 Page 29 of 74 Page ID
                                                         #:1522



                                                March 2, 2023



          James P. Wagoner
  jim.wagoner@mccormickbarstow.com              VIA E-MAIL [NBOOS@MAYNARDCOOPER.COM]
*Certified Appellate Law Specialist certified
by the Board of Legal Specialization of the
            California State Bar.               Nicholas J. Boos
                                                Maynard Cooper & Gale
          FRESNO, CA OFFICE                     Two Embarcadero Center, Suite 1450
        7647 North Fresno Street
         Fresno, California 93720               San Francisco, CA 94111
             P.O. Box 28912
         Fresno, CA 93729-8912
        Telephone (559) 433-1300
           Fax (559) 433-2300                   Re:    Travelers Commercial Insurance Co. v. New York Marine and General Ins. Co.
                                                       USDC Central District Case No. 2:21-cv-5832-GW (PDx)

                                                Dear Mr. Boos:

                                                The undersigned and McCormick Barstow, LLP represent New York Marine and
                                                General Insurance Company (“NY Marine”) in connection with the above-referenced
          Other offices of
                                                litigation. We are in receipt of your February 28, 2023 Notice of Substitution and the
   McCORMICK, BARSTOW, SHEPPARD,
       WAYTE & CARRUTH LLP
                                                Court’s March 1, 2023 Order granting your substitution. Regretfully, the purpose of
                                                this letter is to inform you of the very apparent conflict of interest created by yours and
   www.mccormickbarstow.com                     Maynard Cooper’s appearance on behalf of Travelers in this litigation, and accordingly
  BAKERSFIELD, CA OFFICE
                                                to demand yours and the firm’s immediate withdrawal as counsel for Travelers.
 5060 California Ave., Suite 1090
  Bakersfield, California 93309
   Telephone (661) 616-1594
      Fax (661) 616-1595
                                                As you are aware, in or about April 2022, Maynard Cooper hired Matt Chipman as an
                                                Associate in your office. Prior to—and indeed up until—his employment by your firm,
     CINCINNATI, OH OFFICE
     Scripps Center, Suite 1050
                                                he was an Associate at McCormick Barstow in our Insurance Coverage and Bad Faith
         312 Walnut Street                      Litigation Practice Group. Although he worked only a small amount of time on the
       Cincinnati, Ohio 45202
     Telephone (513) 762-7520                   Travelers v. NY Marine litigation, he was nevertheless directly involved on behalf of
        Fax (513) 762-7521
                                                NY Marine. In that capacity, our (so far brief) review of email exchanges with him has
    LAS VEGAS, NV OFFICE                        also identified at least three emails to him (on March 1-2, 2021 and April 24, 2021)
8337 West Sunset Road, Suite 350
   Las Vegas, Nevada 89113                      which expressly addressed this litigation and which unquestionably include
   Telephone (702) 949-1100
      Fax (702) 949-1101                        confidential client information pertaining to this litigation. Additionally, he was
                                                unquestionably privy to innumerable conversations concerning this matter with and
      MODESTO, CA OFFICE
       1125 I Street, Suite 1                   between myself and other senior attorneys on the file including Nick Rasmussen and
     Modesto, California 95354
     Telephone (209) 524-1100                   Graham Van Leuven. Indeed, along with Mr. Rasmussen, Mr. Van Leuven, and the
        Fax (209) 524-1188
                                                undersigned, he also attended a February 23, 2022 dinner with NY Marine’s Coverage
       RENO, NV OFFICE                          and Litigation Counsel during which this matter was discussed.
  201 W. Liberty Street, Suite 320
      Reno, Nevada 89501
    Telephone (775) 333-0400
       Fax (775) 333-0412                       As you are no doubt aware, when considering the existence and consequences of such
                                                a conflict, when “the tainted attorney was actually involved in the representation of the
SAN LUIS OBISPO, CA OFFICE
   1041 Mill Street, Suite 105                  first client, and switches sides in the same case, no amount of screening will be
San Luis Obispo, California 93401
   Telephone (805) 541-2800                     sufficient, and the presumption of imputed knowledge is conclusive” thereby requiring
      Fax (805) 541-2802
                                                the disqualification of the tainted firm. Kirk v. First Am. Title Ins. Co., 183 Cal.App.4th
                                                776, 814 (2010) (citing Henriksen v. Great Am. Savings & Loan, 11 Cal.App.4th 109,
                                                115, 117 (1992) and Meza v. H. Muehlstein & Co., Inc., 176 Cal.App.4th 969, 979
                                                (2000)). (Emphasis added.) Accordingly, given Matt’s actual work on the file and his
                                                clear receipt of NY Marine’s confidential information concerning this litigation, on
Case 2:21-cv-05832-GW-PD Document 106-3 Filed 04/10/23 Page 30 of 74 Page ID
                                 #:1523
             Nicholas J. Boos
             March 2, 2023
             Page 2


            behalf of NY Marine, we must respectfully demand that Maynard Cooper immediately
            withdraw from Travelers’ representation in this matter.

            Very truly yours,




            James P. Wagoner
            McCormick Barstow LLP

            JPW
            8950610.1
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                                 #:1524




                       EXHIBIT 3
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                                 #:1525

                                                                    Nicholas J. Boos
                                                                    DIRECT 415.646.4674
                                                                    EMAIL nboos@maynardcooper.com




                                               March 9, 2023
VIA E-MAIL

James P. Wagoner
McCormick Barstow LLP
7647 North Fresno Street
Fresno, California 93720
P.O. Box 28912

         Re:      Travelers Commercial Ins. Co. v. New York Marine and Gen. Ins. Co.
                  U.S. Dist. Ct., Central Dist. Cal., Case No. 2:21-cv-5832-GW-PD

Dear Mr. Wagoner:

We reject your demand that my law firm withdraw as counsel for as counsel for Travelers
Commercial Insurance Company in the above referenced matter. You assert that disqualification
is required because Matt Chipman, an associate at my law firm who has not had any involvement
in this matter, previously worked at your firm. You are incorrect. First, Mr. Chipman is not
disqualified from working on this matter. Second, his alleged disqualification is not imputed to
other members of my law firm.

You appear to suggest that Mr. Chipman is disqualified under Rule 1.9(a) of the California Rules
of Professional Conduct, which states: “A lawyer who has formerly represented a client in a matter
shall not thereafter represent another person in the same or a substantially related matter in which
that person's interests are materially adverse to the interests of the former client unless the former
client gives informed written consent.” That rule does not apply here.

Mr. Chipman did not represent your client, New York General Insurance Company, in the above-
referenced action while he worked at your law firm. He was not assigned to that matter by your
law firm, he did not make any appearances in that matter, and he has no recollection of performing
any work on that matter. Nevertheless, you contend that he—and by extension my law firm—
should be disqualified because you say he received three emails two years ago (before the lawsuit
was filed) regarding the matter, was “privy” to conversations among people at your law firm
“concerning this matter,” and attended a dinner with “NY Marine’s Coverage and Litigation
Counsel” during which “this matter was discussed.” Despite your vague assertions, Mr. Chipman
has no recollection of receiving any confidential information regarding the above-referenced
action. That is consistent with the fact that he has no recollection of ever working on it.

You presumably became aware of Rule 1.10(a) of the California Rules of Professional Conduct
while preparing your withdrawal demand, but you make no mention of it in your letter. Under that
rule, even if Mr. Chipman was disqualified, his disqualification is not imputed to my law firm.
The rule states that an attorney’s disqualification is not imputed to the firm where the attorney “did
not substantially participate in the same or a substantially related matter; [] is timely screened from
any participation in the matter and is apportioned no part of the fee therefrom; and [] written notice

         Two Embarcadero Center / Suite 1450 / San Francisco, CA 94111 / 415.646.4669 / maynardcooper.com
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James P. Wagoner
McCormick Barstow LLP
March 9, 2023
Page 2

is promptly given to any affected former client to enable the former client to ascertain compliance
with the provisions of this rule . . . .” The requirements of this rule are satisfied here.

Mr. Chipman did not substantially participate in the above-referenced action. Mr. Chipman has
no recollection of working on the matter, and your letter states that he “worked only a small amount
of time” on it. Thus, Mr. Chipman’s participation in the matter was, at most, de minimis.

Mr. Chipman was timely screened. Although Mr. Chipman was not disqualified and, as discussed
above, has no confidential information, we nevertheless developed a screen in response to your
letter asserting a conflict. To that end, Mr. Chipman has not worked on the above-referenced
action nor will he do so; he is “walled off” from any information pertaining to the matter, including
being unable to access paper or electronic files; no attorney or employee of our firm will
communicate with him regarding the action; an email memorandum has been circulated warning
legal staff to isolate Mr. Chipman from communications regarding the above-referenced action
and to prevent access to file materials; and reminder memoranda will be sent to legal staff every
60 days.

Consistent with Prof. Cond. Rule 1.10(a)(2)(iii), this letter provides written notice to your client
including “a description of the screening procedures” our firm implemented. We will respond
promptly to written inquiries or objections by your client regarding those screening procedures.

For the foregoing reasons, my law firm declines to withdraw from this matter. If you would like
to discuss this issue, please let me know.

                                                              Very truly yours,



                                                              Nicholas J. Boos




{06765077.1}
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                                 #:1527




                       EXHIBIT 4
                        Case 2:21-cv-05832-GW-PD Document 106-3 Filed 04/10/23 Page 35 of 74 Page ID
                                                         #:1528



                                                March 23, 2023



          James P. Wagoner
  jim.wagoner@mccormickbarstow.com              VIA E-MAIL [NBOOS@MAYNARDCOOPER.COM]
*Certified Appellate Law Specialist certified
by the Board of Legal Specialization of the
            California State Bar.               Nicholas J. Boos
                                                Maynard Cooper & Gale
          FRESNO, CA OFFICE                     Two Embarcadero Center, Suite 1450
        7647 North Fresno Street
         Fresno, California 93720               San Francisco, CA 94111
             P.O. Box 28912
         Fresno, CA 93729-8912
        Telephone (559) 433-1300
           Fax (559) 433-2300                   Re:    Travelers Commercial Insurance Co. v. New York Marine and General Ins. Co.
                                                       USDC Central District Case No. 2:21-cv-5832-GW (PDx)

                                                Dear Mr. Boos:

                                                New York Marine and General Insurance Company (“NY Marine”) has now had the
                                                opportunity to consider your March 9, 2022 letter the existence of disputing Maynard
          Other offices of
                                                Cooper’s obvious conflict of interest in its representation of Travelers Commercial
   McCORMICK, BARSTOW, SHEPPARD,
       WAYTE & CARRUTH LLP
                                                Insurance Company (“Travelers”) in this matter. Such a conflict clearly exists on
                                                account of Maynard Cooper’s employment of Associate attorney Matt Chipman who
   www.mccormickbarstow.com                     was previously employed by McCormick Barstow LLP and who represented NY
  BAKERSFIELD, CA OFFICE
                                                Marine in both this litigation as well as in at least five (5) other cases. We understand
 5060 California Ave., Suite 1090
  Bakersfield, California 93309
                                                from your letter that Maynard Cooper denies that any conflict exists or that it is subject
   Telephone (661) 616-1594
      Fax (661) 616-1595
                                                to disqualification as a result of Mr. Chipman’s previous employment with McCormick
                                                Barstow LLP and his representation of NY Marine in the very action in which your
     CINCINNATI, OH OFFICE
     Scripps Center, Suite 1050
                                                firm now represents Travelers. For the reasons set forth below, we must respectfully
         312 Walnut Street                      reject the various premises and conclusions of your letter, and again demand that
       Cincinnati, Ohio 45202
     Telephone (513) 762-7520                   Maynard Cooper both acknowledge that it is disqualified from representing Travelers
        Fax (513) 762-7521
                                                and agree to withdraw from that representation.
    LAS VEGAS, NV OFFICE
8337 West Sunset Road, Suite 350
   Las Vegas, Nevada 89113                      As an initial matter, your letter asserts that California Rule 1.9(a) does not apply. That
   Telephone (702) 949-1100
      Fax (702) 949-1101                        rule states that “[a] lawyer who has formerly represented a client in a matter shall not
                                                thereafter represent another person in the same or a substantially related matter in which
      MODESTO, CA OFFICE
       1125 I Street, Suite 1                   that person’s interests are materially adverse to the interests of the former client unless
     Modesto, California 95354
     Telephone (209) 524-1100                   the former client unless the former client gives informed written consent”. Specifically,
        Fax (209) 524-1188
                                                your letter asserts that Mr. Chipman did not represent NY Marine “in the above-
       RENO, NV OFFICE                          referenced action while he worked at” McCormick Barstow LLP, and further contends
  201 W. Liberty Street, Suite 320
      Reno, Nevada 89501                        that “[h]e was not assigned to that matter by your law firm, he did not make any
    Telephone (775) 333-0400
       Fax (775) 333-0412                       appearances in that matter, and he has no recollection of performing any work on that
                                                matter.” However, in determining whether a conflict of interest exists, under well-
SAN LUIS OBISPO, CA OFFICE
   1041 Mill Street, Suite 105                  established California law, whether an attorney was formally “assigned” to a matter or
San Luis Obispo, California 93401
   Telephone (805) 541-2800                     “appeared” in court on behalf of the client is immaterial. Neither does Mr. Chipman’s
      Fax (805) 541-2802
                                                lack of recollection of his involvement in the matter or his receipt of NY Marine’s
                                                confidential information alter the conclusion that a conflict of interest exists.
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             Nicholas J. Boos
             March 23, 2023
             Page 2


            First, as observed in our letter of March 2, 2023, regardless whether he was formally
            “assigned” to this matter, Mr. Chipman did represent NY Marine in this action,
            including by performing work on the file for which his time was billed to the client, as
            well as in other matters. Moreover, the proposition that a formal “assignment” is
            necessary for an attorney to have a conflict is self-evidently contradicted by the well-
            established law that a conflict of interest is imputed to all members of a firm—even
            those who have never worked on the matter and/or who were not employed by the firm
            at the time of the representation giving rise to the conflict. See, e.g., Holm v. City of
            Barstow, Case no. EDCV 08-420-VAP (JCx), 2008 WL 4290857 *6 (C.D.Cal. Sep.
            16, 2008) (attorney who did not begin his employment at the conflicted law firm until
            after an attorney who had performed work for a client had left the firm was still subject
            disqualification because the imputed conflict still existed).

            Your assertion that Mr. Chipman “did not make any appearances” in the Travelers v.
            NY Marine litigation is likewise unsupported by any reference to California law and is
            also equally irrelevant. In this respect, the contention defies logic as conflicts of
            interest can exist because of an attorney’s former representation of a client and such
            representation need not occur in a courtroom. More to the point, however, that
            proposition is contradicted by well-established California law holding that a conflict
            requiring disqualification may arise whenever the attorney receives the client’s
            confidential information—even as the result of a mere consultation or where no
            attorney-client relationship is ever actually formed. See, People ex rel. Dept. of Corps.
            v. SpeeDee Oil Change Sys’s., Inc., 20 Cal.4th 1135, 1147-1148 (1999); In re Tevis,
            347 B.R. 679, 692 (9th Cir. BAP 2006) (“Under California law, the
            mere consultation with a prospective client may create a disqualifying conflict of
            interest for a lawyer, especially where confidential information was disclosed.”) (citing
            SpeeDee Oil, supra).

            The position set forth in your letter also ignores that conflicts are imputed to all
            attorneys in a firm. SpeeDee Oil, supra, 20 Cal.4th 1135, 1139 (citing Flatt v. Superior
            Court, 9 Cal.4th 275, 283 (1994)). Thus, consistent with this principle, courts
            addressing the imputation of knowledge to all attorneys in a firm have observed that
            the principle flows from the practical “rationale that attorneys practicing together
            generally share each other's, and their clients', confidential information.” Kirk v. First
            Am. Title Ins. Co., 183 Cal.App.4th 776, 799 (2010) (citing City and Cty. of San
            Francisco v. Cobra Solutions, Inc., 38 Cal.4th 839, 847-848 (2006)).

            As to Mr. Chipman’s lack of “recollection of performing any work on” the Travelers
            v. NY Marine matter, your letter appears to suggest that such a lack of recollection
            negates any conflict. However, an attorney’s failure to recall either their representation
            of a client or their receipt of confidential client information is an entirely subjective
            matter. Consequently, it cannot logically make a material difference in the analysis
            where, as here, the attorney actually did represent the client and acquired its
            confidential information. The suggestion that Mr. Chipman has no recollection of
            performing any work on the matter is also inconsistent with both the purpose behind
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             Nicholas J. Boos
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            the rule, the “paramount concern” of which the California Supreme Court has stated
            “must be to preserve public trust in the scrupulous administration of justice and the
            integrity of the bar”, and the need for courts to “protect clients' legitimate expectations
            of loyalty to preserve this essential basis for trust and security in the attorney-client
            relationship.” SpeeDee Oil, supra, 20 Cal.4th 1135, 1145, 1147. Such expectations of
            confidentiality and loyalty cannot be founded upon a former attorney’s mere claim that
            they lack recollection of their documentable representation and receipt of confidential
            information.

            In any event, and fundamentally, your position ignores that California courts which
            have passed on the question have consistently held that an attorney’s specific
            recollection of the conflicting representation are immaterial where the conflict is direct
            and the attorney is on both sides of the same dispute. Rosenfeld Constr. Co. v. Superior
            Ct., 235 Cal.App.3d 566, 576 (1991) (“We find no authority that supports the notion
            that, standing alone, the present recollection of the members of the firm is an adequate
            criterion.”); Equal Employment Opportunity Comm’n. v. Peters’ Bakery, Case no. 13-
            cv-04507-BLF, 2014 WL 7272943 *6 (N.D.Cal. Dec. 22, 2014) (“That Mr. Baker
            neither recalls the consultation nor, presumably, what confidential information he
            received during the consultation, does not eliminate the risk that his memory may be
            triggered at any point as the present case develops.”); United States v. Sun Keung Lee,
            Case no. CR 10-0186 MHP, 2011 WL 52599 *2 (N.D.Cal. Jan. 6, 2011) (“Lastly, at
            the hearing and in his papers, Mr. Gruel assures the court that he has no present
            recollection of being privy to any confidential information regarding the government's
            investigation into Lee's alleged drug-related criminal activities. [Citations.] Whether
            Mr. Gruel has any present recollection is not dispositive here.”); see also, Global Van
            Lines, Inc. v. Superior Court, 144 Cal.App.3d 483, 488 (1983) (finding that
            notwithstanding an attorney's claims of no present recollection, it is not unreasonable
            to impute receipt of confidential information where it would have been logical for the
            attorney to have received such information in the course of his employment); Shadow
            Traffic Network v. Superior Court, 24 Cal.App.4th 1067, 1086 (1994) (expressing
            recognition that representation could be impacted by conflicted expert’s conscious or
            unconscious consideration of confidential information received from other
            representation).

            It is consequently apparent that Mr. Chipman would have a conflict regardless of his
            own direct knowledge of the file, and certainly regardless of his own mere lack of
            recollection of his work on and receipt of confidential client information concerning
            this matter. Thus, the assertion on page one of your letter that “Mr. Chipman is not
            disqualified from working on this matter” is patently contrary to California law.1 But

            1
              For all the reasons set forth in this letter, your related assertion that “Mr. Chipman is
            not disqualified from working on this matter” (emphasis added) is not only contrary to
            law, but outright preposterous. For those same reasons, your contention that Rule of
            Professional Conduct 1.10 excuses the conflict or otherwise does not require its
            disqualification is equally incorrect and contrary to California law.
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             Nicholas J. Boos
             March 23, 2023
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            more to the point, in this case, Mr. Chipman, while an Associate at McCormick
            Barstow LLP, actually worked on the file and acquired knowledge of NY Marine’s
            confidential information concerning this specific matter. Indeed, to this end, three
            members of McCormick Barstow LLP will, if necessary, provide sworn declarations
            stating not only that Mr. Chipman performed actual work on this file for NY Marine,
            but as well, that he was a direct recipient of NY Marine’s confidential information
            concerning this matter. Specifically, the undersigned, as well as Mr. Rasmussen and
            Mr. Van Leuven, can each provide sworn declarations stating that Mr. Chipman was
            present for and participated in conversations in their capacities as counsel for NY
            Marine during which they specifically discussed both matters of fact bearing on this
            litigation, NY Marine’s legal analysis and strategy in connection with this litigation as
            well as the underlying litigation and coverage dispute from which the present litigation
            arose. In addition, NY Marine’s Coverage and Litigation Counsel will similarly provide
            a sworn declaration confirming that Mr. Chipman was present and participated in a
            conversation at an evening dinner on February 23, 2022, during which she, the
            undersigned, Mr. Rasmussen, and Mr. Van Leuven discussed both factual matters and
            NY Marine’s legal strategy in this litigation and in the underlying litigation and
            coverage dispute out of which the present litigation arises. Consequently, your
            assertions that Mr. Chipman “did not represent” NY Marine in this litigation, and that
            he does not possess any of its confidential information concerning this litigation or the
            underlying claim and litigation which gave rise to the present dispute, is without basis
            in either fact or law. Mr. Chipman has a conflict, and that conflict is imputed to your
            entire firm. SpeeDee Oil, supra, 1155-1556 (attorney’s receipt of confidential
            information required firm’s disqualification); Dill v. Superior Court, 158 Cal.App.3d
            301, 303, 306 (1984) (where associate who worked on file and obtained client’s
            confidential information moved to another firm which represented opposing real parties
            in interest, his conflict of interest required second firm’s disqualification).

            Furthermore, turning to your contention that Mr. Chipman “was timely screened”,
            under relevant law no such “screening” is sufficient and, even if it were, the factual
            statements contained in your letter confirm that Mr. Chipman was not timely screened.
            In this respect, California law is well-established that where, as here, “the tainted
            attorney was actually involved in the representation of the first client, and switches
            sides in the same case, no amount of screening will be sufficient, and the presumption
            of imputed knowledge is conclusive.” Kirk, supra, 183 Cal.App.4th 776, 814; Meza v.
            Muehlstein & Co., Inc., 176 Cal.App.4th 969, 978 (2009) (stating that the rule of
            automatic disqualification “is especially true where the attorney's disqualification is
            due to his prior representation of the opposing side during the same lawsuit.”);
            Henriksen v. Great Am. Savings & Loan, 11 Cal.App.4th 109, 114-115 (1992) (citing
            Flatt v. Superior Court, 9 Cal.4th 275, 283 (1994)). Given the foregoing, and contrary
            to the suggestion in your letter, Rule of Professional Conduct 1-10 does not apply to
            excuse the conflict, nor does it permit Maynard Cooper to avoid the necessary
            consequence of the conflict—its disqualification.
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             Nicholas J. Boos
             March 23, 2023
             Page 5


            Finally, even where such “screening” may be sufficient, California law provides that
            “screening should be implemented before undertaking the challenged representation
            or hiring the tainted individual. Screening must take place at the outset to prevent any
            confidences from being disclosed.” Sierra v. Costco Wholesale Corp., -- F.Supp.3d --,
            2022 WL 4454359 *4 (N.D.Cal. 2022) (emphasis added) (quoting In re Complex
            Asbestos Litig., 232 Cal.App.3d 572, 594 (1991)); Maria De Jesus Cruz Ramos v.
            Costco Wholesale Corp., et al., Case no. CV 22-3579-MWF (AFMx), 2022 WL
            18278604 *2 (C.D.Cal. Nov. 9, 2022) (same); Kirk, supra, 183 Cal.App.4th 776, 792
            (same). Here, your letter acknowledges that Maynard Cooper only “developed a screen
            in response to [our] letter” of March 2, 2023 (emphasis added). That statement
            confirms that even if a screen could have been effective, it was not “timely”
            implemented here at the commencement of Maynard Cooper’s representation of
            Travelers.

            In sum, Mr. Chipman not only represented NY Marine in connection with this very
            dispute, but unquestionably received its confidential information pertaining to this
            litigation. He is therefore conflicted, and that conflict is automatically imputed to
            Maynard Cooper, requiring its disqualification. Moreover, even if the conflict could be
            adequately screened (it cannot), because your letter admits that the screen was not
            established “before [Maynard Cooper’s] undertaking of” Travelers’ representation in
            this action, it is not timely as a matter of California law and consequently does not
            suffice to prevent Maynard Cooper’s disqualification.

            For the reasons set forth above and in our letter of March 2, 2023, NY Marine again
            requests that Maynard Cooper acknowledge the irreconcilable conflict created by its
            representation of Travelers in the above-referenced litigation, and promptly confirm
            that it will withdraw as counsel. If Maynard Cooper will not acknowledge its conflict
            and agree to withdraw, please let us know when you are available next week for a
            telephonic “meet and confer” conference in connection with NY Marine’s motion to
            disqualify Maynard Cooper.

            Very truly yours,



            James P. Wagoner
            McCormick Barstow LLP

            JPW



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                                 #:1533




                  EXHIBIT 5
Case 2:21-cv-05832-GW-PD Document 106-3 Filed 04/10/23 Page 41 of 74 Page ID
                                 #:1534




             Nicholas Rasmussen

             From:                                Nicholas J. Boos
                                                  <NBoos@maynardcooper.co
                                                  m>
             Sent:                                Thursday, March 30, 2023
                                                  10:11 AM
             To:                                  Jim Wagoner
             Cc:                                  Nicholas Rasmussen
             Subject:                             Re: Travelers Commercial Ins.
                                                  Co. v. New York Marine and
                                                  General Ins. Co.


             I am not available today, but can speak tomorrow afternoon.
             Please let me know if there is a time tomorrow that works for
             you.

             Nicholas J. Boos
             Direct: (415) 646-4674
             Mobile: (510) 541-5688
             nboos@maynardcooper.com

             Sent from my iPhone



             Nicholas J. Boos
             Partner | Insurance & Financial Services Litigation
             P: 415.646.4674 | C: 510.541.5688 | F: 205.714.6709
             NBoos@maynardcooper.com | V-card
             ____

             Two Embarcadero Center, Suite 1450
             San Francisco, CA 94111

                                              1
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                                 #:1535




             Maynard Cooper & Gale and Nexsen Pruet have agreed to
             merge on April 1, 2023.




                   On Mar 30, 2023, at 10:09 AM, Jim Wagoner
                   <Jim.Wagoner@mccormickbarstow.com>
                   wrote:


                   Nick, just following up on this one. We
                   would like to meet and confer with you
                   today at 1:00 pm.

                   Very truly yours,

                   James P. Wagoner
                   McCormick Barstow LLP
                   7647 North Fresno Street | Fresno, CA
                   93720
                   Main (559) 433.1300 | Direct (559)
                   433.2119
                   www.mccormickbarstow.com

                   *Certified Specialist in Appellate Law
                   The State Bar of California


                   From: Jim Wagoner
                   <Jim.Wagoner@mccormickbarstow.com>
                   Sent: Tuesday, March 28, 2023 4:07 PM
                   To: nboos@maynardcooper.com
                                         2
Case 2:21-cv-05832-GW-PD Document 106-3 Filed 04/10/23 Page 43 of 74 Page ID
                                 #:1536




                  Cc: Nicholas Rasmussen
                  <Nicholas.Rasmussen@mccormickbarstow.com
                  >
                  Subject: RE: Travelers Commercial Ins. Co. v.
                  New York Marine and General Ins. Co.

                  Nick,

                  Just following up on our letter of March
                  23rd. We propose a meet and confer call on
                  Thursday at 1:00 p.m. If that time does not
                  work for you, please let us know what time
                  will work.

                  Very truly yours,

                  James P. Wagoner
                  McCormick Barstow LLP
                  7647 North Fresno Street | Fresno, CA
                  93720
                  Main (559) 433.1300 | Direct (559)
                  433.2119
                  www.mccormickbarstow.com

                  *Certified Specialist in Appellate Law
                  The State Bar of California


                  From: Jim Wagoner
                  <Jim.Wagoner@mccormickbarstow.com>
                  Sent: Thursday, March 23, 2023 2:07 PM
                  To: nboos@maynardcooper.com
                  Cc: Nicholas Rasmussen
                  <Nicholas.Rasmussen@mccormickbarstow.com
                  >; Graham Van Leuven

                                        3
Case 2:21-cv-05832-GW-PD Document 106-3 Filed 04/10/23 Page 44 of 74 Page ID
                                 #:1537




                    <Graham.VanLeuven@mccormickbarstow.com
                    >
                    Subject: Travelers Commercial Ins. Co. v. New
                    York Marine and General Ins. Co.

                    Please see attached correspondence.

                    Very truly yours,

                    James P. Wagoner
                    McCormick Barstow LLP
                    7647 North Fresno Street | Fresno, CA
                    93720
                    Main (559) 433.1300 | Direct (559)
                    433.2119
                    www.mccormickbarstow.com

                    *Certified Specialist in Appellate Law
                    The State Bar of California

                    <Letter to Boos from Wagoner
                    (3_23_23).PDF>


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                                          4
Case 2:21-cv-05832-GW-PD Document 106-3 Filed 04/10/23 Page 45 of 74 Page ID
                                 #:1538




                  EXHIBIT 6
Matthew Aaron Chipman # 332944 - Attorney Licensee Search       https://apps.calbar.ca.gov/attorney/Licensee/Detail/332944
               Case 2:21-cv-05832-GW-PD Document 106-3 Filed 04/10/23 Page 46 of 74 Page ID
                                                #:1539




1 of 1                                                                                                4/10/2023, 4:12 PM
Case 2:21-cv-05832-GW-PD Document 106-3 Filed 04/10/23 Page 47 of 74 Page ID
                                 #:1540




                  EXHIBIT 7
Search Our Team                                     https://www.maynardnexsen.com/professionals?results#form-search-results
              Case 2:21-cv-05832-GW-PD Document 106-3 Filed 04/10/23 Page 48 of 74 Page ID
                                               #:1541




1 of 2                                                                                                 4/5/2023, 11:58 AM
Search Our Team                                     https://www.maynardnexsen.com/professionals?results#form-search-results
              Case 2:21-cv-05832-GW-PD Document 106-3 Filed 04/10/23 Page 49 of 74 Page ID
                                               #:1542




2 of 2                                                                                                 4/5/2023, 11:58 AM
Case 2:21-cv-05832-GW-PD Document 106-3 Filed 04/10/23 Page 50 of 74 Page ID
                                 #:1543




                  EXHIBIT 8
Nicholas J. Boos                                              https://www.maynardnexsen.com/professionals-nicholas-j-nick-boos
                   Case 2:21-cv-05832-GW-PD Document 106-3 Filed 04/10/23 Page 51 of 74 Page ID
                                                    #:1544




1 of 4                                                                                                    4/5/2023, 11:59 AM
Nicholas J. Boos                                              https://www.maynardnexsen.com/professionals-nicholas-j-nick-boos
                   Case 2:21-cv-05832-GW-PD Document 106-3 Filed 04/10/23 Page 52 of 74 Page ID
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2 of 4                                                                                                    4/5/2023, 11:59 AM
Nicholas J. Boos                                              https://www.maynardnexsen.com/professionals-nicholas-j-nick-boos
                   Case 2:21-cv-05832-GW-PD Document 106-3 Filed 04/10/23 Page 53 of 74 Page ID
                                                    #:1546




3 of 4                                                                                                    4/5/2023, 11:59 AM
Nicholas J. Boos                                              https://www.maynardnexsen.com/professionals-nicholas-j-nick-boos
                   Case 2:21-cv-05832-GW-PD Document 106-3 Filed 04/10/23 Page 54 of 74 Page ID
                                                    #:1547




4 of 4                                                                                                    4/5/2023, 11:59 AM
Matthew Chipman                                          https://www.maynardnexsen.com/professionals-matthew-chipman
             Case 2:21-cv-05832-GW-PD Document 106-3 Filed 04/10/23 Page 55 of 74 Page ID
                                              #:1548




1 of 3                                                                                            4/5/2023, 12:00 PM
Matthew Chipman                                          https://www.maynardnexsen.com/professionals-matthew-chipman
             Case 2:21-cv-05832-GW-PD Document 106-3 Filed 04/10/23 Page 56 of 74 Page ID
                                              #:1549




2 of 3                                                                                            4/5/2023, 12:00 PM
Matthew Chipman                                          https://www.maynardnexsen.com/professionals-matthew-chipman
             Case 2:21-cv-05832-GW-PD Document 106-3 Filed 04/10/23 Page 57 of 74 Page ID
                                              #:1550




3 of 3                                                                                            4/5/2023, 12:00 PM
Jamal B. Al-Haj                                                  https://www.maynardnexsen.com/professionals-jamal-b-al-haj
                  Case 2:21-cv-05832-GW-PD Document 106-3 Filed 04/10/23 Page 58 of 74 Page ID
                                                   #:1551




1 of 2                                                                                                 4/5/2023, 11:59 AM
Jamal B. Al-Haj                                                  https://www.maynardnexsen.com/professionals-jamal-b-al-haj
                  Case 2:21-cv-05832-GW-PD Document 106-3 Filed 04/10/23 Page 59 of 74 Page ID
                                                   #:1552




2 of 2                                                                                                 4/5/2023, 11:59 AM
Norman Lau                                                   https://www.maynardnexsen.com/professionals-norman-lau
             Case 2:21-cv-05832-GW-PD Document 106-3 Filed 04/10/23 Page 60 of 74 Page ID
                                              #:1553




1 of 2                                                                                          4/5/2023, 12:00 PM
Norman Lau                                                   https://www.maynardnexsen.com/professionals-norman-lau
             Case 2:21-cv-05832-GW-PD Document 106-3 Filed 04/10/23 Page 61 of 74 Page ID
                                              #:1554




2 of 2                                                                                          4/5/2023, 12:00 PM
Sasha G. Rao                                                   https://www.maynardnexsen.com/professionals-sasha-g-rao
               Case 2:21-cv-05832-GW-PD Document 106-3 Filed 04/10/23 Page 62 of 74 Page ID
                                                #:1555




1 of 8                                                                                             4/5/2023, 12:01 PM
Sasha G. Rao                                                   https://www.maynardnexsen.com/professionals-sasha-g-rao
               Case 2:21-cv-05832-GW-PD Document 106-3 Filed 04/10/23 Page 63 of 74 Page ID
                                                #:1556




2 of 8                                                                                             4/5/2023, 12:01 PM
Sasha G. Rao                                                   https://www.maynardnexsen.com/professionals-sasha-g-rao
               Case 2:21-cv-05832-GW-PD Document 106-3 Filed 04/10/23 Page 64 of 74 Page ID
                                                #:1557




3 of 8                                                                                             4/5/2023, 12:01 PM
Sasha G. Rao                                                   https://www.maynardnexsen.com/professionals-sasha-g-rao
               Case 2:21-cv-05832-GW-PD Document 106-3 Filed 04/10/23 Page 65 of 74 Page ID
                                                #:1558




4 of 8                                                                                             4/5/2023, 12:01 PM
Sasha G. Rao                                                   https://www.maynardnexsen.com/professionals-sasha-g-rao
               Case 2:21-cv-05832-GW-PD Document 106-3 Filed 04/10/23 Page 66 of 74 Page ID
                                                #:1559




5 of 8                                                                                             4/5/2023, 12:01 PM
Sasha G. Rao                                                   https://www.maynardnexsen.com/professionals-sasha-g-rao
               Case 2:21-cv-05832-GW-PD Document 106-3 Filed 04/10/23 Page 67 of 74 Page ID
                                                #:1560




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Sasha G. Rao                                                   https://www.maynardnexsen.com/professionals-sasha-g-rao
               Case 2:21-cv-05832-GW-PD Document 106-3 Filed 04/10/23 Page 68 of 74 Page ID
                                                #:1561




7 of 8                                                                                             4/5/2023, 12:01 PM
Sasha G. Rao                                                   https://www.maynardnexsen.com/professionals-sasha-g-rao
               Case 2:21-cv-05832-GW-PD Document 106-3 Filed 04/10/23 Page 69 of 74 Page ID
                                                #:1562




8 of 8                                                                                             4/5/2023, 12:01 PM
Brandon Stroy                                                  https://www.maynardnexsen.com/professionals-brandon-stroy
                Case 2:21-cv-05832-GW-PD Document 106-3 Filed 04/10/23 Page 70 of 74 Page ID
                                                 #:1563




1 of 4                                                                                               4/5/2023, 12:01 PM
Brandon Stroy                                                  https://www.maynardnexsen.com/professionals-brandon-stroy
                Case 2:21-cv-05832-GW-PD Document 106-3 Filed 04/10/23 Page 71 of 74 Page ID
                                                 #:1564




2 of 4                                                                                               4/5/2023, 12:01 PM
Brandon Stroy                                                  https://www.maynardnexsen.com/professionals-brandon-stroy
                Case 2:21-cv-05832-GW-PD Document 106-3 Filed 04/10/23 Page 72 of 74 Page ID
                                                 #:1565




3 of 4                                                                                               4/5/2023, 12:01 PM
Brandon Stroy                                                  https://www.maynardnexsen.com/professionals-brandon-stroy
                Case 2:21-cv-05832-GW-PD Document 106-3 Filed 04/10/23 Page 73 of 74 Page ID
                                                 #:1566




4 of 4                                                                                               4/5/2023, 12:01 PM
Case 2:21-cv-05832-GW-PD Document 106-3 Filed 04/10/23 Page 74 of 74 Page ID
                                 #:1567



  1                                      PROOF OF SERVICE
  2   Travelers Commercial Insurance Company v. New York Marine and General
                                Insurance Company
  3
      STATE OF CALIFORNIA, COUNTY OF FRESNO
  4
           At the time of service, I was over 18 years of age and not a party to this action.
  5 I am employed in the County of Fresno, State of California. My business address is
    7647 North Fresno Street, Fresno, CA 93720.
  6
           On April 10, 2023, I served true copies of the following document(s) described
  7 as DECLARATION OF JAMES P. WAGONER IN SUPPORT OF NEW YORK
    MARINE AND GENERAL INSURANCE COMPANY’S MOTION TO
  8 DISQUALIFY MAYNARD COOPER & GALE, LLP on the interested parties in
    this action as follows:
  9
    Nicholas J. Boos                             Kirk Pasich
 10 Maynard Cooper & Gale                        Kayla Robinson
    Two Embarcadero Center, Suite 1450           Pasich LLP
 11 San Francisco, CA 94111                      10880 Wilshire Blvd., Suite 2000
    Telephone: (415) 646-4674                    Los Angeles, CA 90024
 12 Email: nboos@maynardcooper.com               Telephone: (424) 313-7860
                                                 Email: kpasich@pasichllp.com
 13 Attorneys for Plaintiff Travelers krobinson@pasichllp.com
    Commercial Insurance Company
 14                                              Attorneys for Non-Party Amber Heard
 15        BY CM/ECF NOTICE OF ELECTRONIC FILING: I electronically filed
    the document(s) with the Clerk of the Court by using the CM/ECF system.
 16 Participants in the case who are registered CM/ECF users will be served by the
    CM/ECF system. Participants in the case who are not registered CM/ECF users will
 17 be served by mail or by other means permitted by the court rules.
 18      I declare under penalty of perjury under the laws of the United States of
    America that the foregoing is true and correct and that I am employed in the office of
 19 a member of the bar of this Court at whose direction the service was made.
 20         Executed on April 10, 2023, at Fresno, California.
 21
 22                                                           /s/ Heather Ward
                                                         Heather Ward
 23
 24
 25
 26
 27
 28

          Declaration of James P. Wagoner ISO NY Marine’s Motion to Disqualify Maynard Cooper & Gale, LLP
